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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       CASE NO . l6-8l747-CIV -ZLOCH


 GARFIELD SPENCE ,

             Plaintiff,                     FINAL ORDER OF DISMISSAL

 VS.


 ROSLAN , LLC t

             Defendant .
                                    /
       THIS MATTER is before the Court upon the Joint Motion Between

 Plaintiff And Defendant Roslan LLC For Approval And Entry Of

 Consent Decree And To Dismiss Action With Prejudice (DE 18). The
 Court has carefully reviewed said Motion , the Parties' Consent

 Decree (DE 18-1), the entire court file and is otherwise fully

 advised in the prem ises .

       Accordingly , after due consideration , it is

       ORDERED hun ADJUDGED as follows :

       1 . The Joint Motion Between Plaintiff And Defendant Roslan LLC

 For Approval And Entry Of Consent Decree And To Dism iss Action W ith

 Prejudice (DE l8) be and the same is hereby GQAHTED;
       2. The Parties' Consent Decree (DE 18-1) be and the same is
 hereby approved , adopted , and ratified by the Court ;

       3 . The above-styled cause be and the same is hereby D ISMISSED

 with prejudice;
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       4 . To the extent not otherwise disposed of herein, all pending

 Motions are hereby DENIED as moot; and

           The Court will retain jurisdiction over the above-styled
 cause solely for the purpose of enforcing the Settlement pursuant

 to the Parties' Consent Decree (DE 18-1).

       DONE AMn ORDERED in Chambers at Fort Lauderdale , Broward

 County , Florida, this             day of December , 2016 .



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                                                           w

                                    WILLIAM J . ZLOCH
                                    United States D istrict Judge

  Copies furnished :
 A ll Counsel of Record




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